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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF NEW JERSEY

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            RULE 2014 AFFIDAVIT OF CONTRACTOR TO PROFESSIONAL




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 I, ___Pedja Grujic___, being of full age, certify as follows:

          1.     I am the Chief Technology Officer of New Target, Inc. (“Contractor”), a
                 contractor for FTI Consulting, Inc (“FTI”).

          2.     FTI was retained as a professional in this case for the Official Committee of Talc
                 Claimants (the “TCC”), by order entered June 1, 2022 (the “FTI Retention
                 Order”) [Doc 2390].

          3.     Pursuant to paragraph 15(c) of the FTI Retention Order, Contractor reviewed the
                 list of Potentially Interested Parties and Debtor affiliates. As of this filing, there
                 are no current or former clients of Contractor on the Potentially Interested
                 Parties list or the Debtor Affiliates list.


                 I certify under penalty of perjury that the above information is true.




 Date: June 27, 2022




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